     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 1 of 12 Page ID #:1




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12                         UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                               WESTERN DIVISION
15    UNITED STATES OF AMERICA, )     Case No.   2:20-CV-01156
                                )
16             Plaintiff,       )     COMPLAINT FOR FORFEITURE
                                )
17                  v.          )     18 U.S.C. § 981(a)(1)(A) and (C) and
                                )     21 U.S.C. § 881(a)(6)
18    $208,420.00 IN U.S.       )
      CURRENCY,                 )     [HSI]
19                              )
               Defendant.       )
20                              )
21         Plaintiff United States of America brings this claim
22    against defendant $208,420.00 In U.S. Currency, and alleges as
23    follows:
24                            JURISDICTION AND VENUE
25         1.    Plaintiff United States of America brings this in rem
26    forfeiture action pursuant to 18 U.S.C. § 981(a)(1)(A) and (C)
27    and 21 U.S.C. § 881(a)(6).
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     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 2 of 12 Page ID #:2



1          2.    This Court has jurisdiction over the matter under 28
2     U.S.C. §§ 1345 and 1355.
3          3.    Venue lies in this District pursuant to 28 U.S.C.
4     § 1395.
5                               PERSONS AND ENTITIES
6          4.    The plaintiff in this action is the United States of
7     America.
8          5.    The defendant in this action is $208,420.00 in U.S.
9     Currency (the “defendant currency”) seized by law enforcement
10    officers on or about February 20, 2019 during the execution of a
11    State of California search warrant at Stephanie Smith’s Pacific
12    Palisades, California residence.
13         6.    The defendant currency is currently in the custody of
14    the United States Customs and Border Protection, Department of
15    Homeland Security in this District, where it will remain subject
16    to this Court’s jurisdiction during the pendency of this action.
17         7.    The interests of Stephanie Smith may be adversely
18    affected by these proceedings.
19                              BASIS FOR FORFEITURE
20    Background Of The Investigation
21         8.    In 2017, law enforcement officers received information
22    that buildings situated on San Bernardino, California commercial
23    real properties located at 660 N. E Street, 1694 N. D Street and
24    328 S. Mt. View Avenue were being used to conduct illegal indoor
25    marijuana grow operations.      The information officers received
26    included complaints that a strong odor of marijuana was
27    emanating from large exhaust fans running at all hours at the E
28    Street and D Street locations and Southern California Edison’s

                                          2
     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 3 of 12 Page ID #:3



1     advising that the buildings at the three locations were using a
2     large amount of power approximately five times the normal
3     monthly power usage for comparatively-sized buildings which
4     could strain and cause the electrical transformers at those
5     sites to fail and result in electrical fires and power losses to
6     other Southern California Edison customers.        Because grow
7     lights, electrical ballasts, exhaust blowers, air conditioning
8     units, charcoal filters, CO2 units, humidifiers and other
9     equipment needed to grow marijuana consume large amounts of
10    electricity and therefore result in high electricity bills, it
11    is common that buildings housing illegal marijuana grow
12    operations will use large and excessive amounts of electricity.
13         9.    When officers then conducted surveillance at the three
14    San Bernardino locations, officers noticed that the buildings
15    situated thereon had no visible windows that would allow light
16    to shine through or the public to see inside the buildings.
17    Indoor marijuana grow operators will often keep windows and
18    blinds in their grow facilities closed or boarded, in order to
19    conceal their illegal activities from the public and law
20    enforcement and to regulate light entering the marijuana grow
21    facility that would otherwise interfere with the light inside
22    the facility needed to create optimal conditions for growing
23    marijuana.
24         10.   While conducting the surveillance officers also
25    noticed that there were armed security guards controlling entry
26    into and exit from the building on the E Street property.          Armed
27    security guards similar to those at banks are often used by
28    indoor marijuana grow operators, in order to provide protection

                                          3
     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 4 of 12 Page ID #:4



1     from individuals that might attempt to steal money or product
2     situated inside the indoor marijuana grow facility.
3          11.   Officers learned that Stephanie Smith owned the Mt.
4     View Avenue property while Smith limited liability companies
5     Gardena Business Group LLC and Heavy D LLC, respectively owned
6     the E Street and D Street real properties.        Based on a
7     California Department of Motor Vehicles check, officers
8     determined that Smith’s driver license did not reflect as her
9     residence address her actual Pacific Palisades residence but
10    instead provided that Smith’s residence address was a UPS store
11    that had post box office services and was located over one mile
12    from Smith’s Pacific Palisades home.       In addition, officers
13    determined from additional record checks that Smith’s
14    businesses, while owning the various real properties where
15    buildings were used to conduct illegal indoor marijuana grow
16    operations, similarly listed the same UPS store address as the
17    location of those businesses.
18         12.   Also, based on a record check on two Tesla vehicles
19    officers saw at Smith’s Pacific Palisades residence, officers
20    learned that Smith listed the address of the same UPS store on
21    the vehicles’ registrations rather than her Pacific Palisades
22    address despite the fact that the vehicles were registered in
23    Smith’s name.    Individuals involved in illegal narcotic activity
24    will often attempt to conceal their physical address in an
25    attempt to avoid detection by law enforcement.
26    Officers’ Execute Search Warrants At Smith Properties
27         13.   On or about December 13, 2017, officers executed a
28    State of California search warrant at the three locations and

                                          4
     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 5 of 12 Page ID #:5



1     found approximately 35,221 mature marijuana plants.          In
2     addition, a building inspector present at the 1694 N. D Street
3     property red-tagged the building and posted a “Do Not Enter or
4     Occupy” notice, after concluding that the building was unsafe
5     because of, among other things, fire explosion and electrical
6     hazards and the blockage of emergency egress from the building.
7     In addition, Southern California Edison was present at the D
8     Street property on December 13, 2017, and cut power to the
9     building after determining that there was an electrical hazard
10    in the building.
11         14.   In addition, officers also executed a State of
12    California search warrant on or about December 13, 2017 at
13    Smith’s Pacific Palisades residence and found an $88,000.00
14    Southern California Edison bill for charges at 4010 Georgia
15    Boulevard in San Bernardino, California.        Officers determined
16    that Smith owned and managed Bubba Likes Tortillas LLC, a
17    company that in turn owned the Georgia Boulevard real property.
18         15.   About five days later, on or about December 18, 2017,
19    Smith’s attorney requested from officers an extension of time to
20    cure the red tag violation at the D Street Property and further
21    stated that the reason people were smelling marijuana coming
22    from the Georgia Boulevard property was because there was an
23    indoor marijuana grow being conducted there.         When officers
24    executed a State of California search warrant at the Georgia
25    Boulevard property the next day on December 19, 2017, officers
26    found about 14,000 mature marijuana plants weighing
27    approximately 8,000 pounds.
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     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 6 of 12 Page ID #:6



1          16.   In total, the searches at Smith’s properties at 660 N.
2     E Street, 1694 N. D Street, 328 S. Mt. View Avenue and 4010
3     Georgia Boulevard in San Bernardino, California yielded
4     approximately 12 tons of marijuana in various stages of growth.
5     Based upon the drug price list for indoor hydroponic cannabis
6     issued by the U.S. Drug Enforcement Administration, Los Angeles
7     High Intensity Drug Trafficking Areas (also known as “HIDTA”)
8     Group, that quantity of marijuana is valued at between $40 to
9     $76 million.
10         17.   During the December 2017 search of Smith’s Pacific
11    Palisades residence, officers found evidence reflecting Smith’s
12    ownership of the San Bernardo properties referenced above and
13    the buildings situated thereon in which the illegal indoor
14    marijuana grow operations were conducted.        The evidence included
15    handwritten receipts for construction work performed at the
16    buildings, financial records of the building purchases, rental
17    agreements listing Smith as the buildings’ lessor and containing
18    specific instructions to the lessees for marijuana cultivation
19    and documents reflecting Smith applying for marijuana
20    cultivation permits from the City of San Bernardino.
21         18.   In addition, during the December 2017 search of
22    Smith’s Pacific Palisades residence officers also found
23    documents identifying Valley Equities LLC, which officers
24    determined was a business located at 444 North H Street in San
25    Bernardino and owned by Smith.      When officers conducted
26    surveillance at that location on or about January 29, 2019,
27    officers could smell marijuana emanating from the building
28    situated on the property, saw that a security guard was guarding

                                          6
     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 7 of 12 Page ID #:7



1     the building and the building had no windows.         In addition,
2     Southern California Edison workers told officers when officers
3     were conducting surveillance at the H Street property on or
4     about January 31, 2019 that they (the Southern California Edison
5     workers) were conducting an investigation of the H Street
6     property for marijuana cultivation.
7          19.   Officers executed a State of California search warrant
8     at the H Street property on or about February 6, 2019, and found
9     about 5,218 marijuana plants weighing approximately 2,647
10    pounds.    About one week later, and despite the fact that
11    building inspectors had red-tagged the building because the
12    building was unsafe (meaning that the building owner and the
13    public could not lawfully be inside the building), on February
14    14, 2019, officers saw five males inside the building at the H
15    Street property loading marijuana cultivation equipment into a
16    trailer.   When officers told the individuals that the
17    individuals were not allowed to be inside the red-tagged
18    building, one of the individuals told officers that he wanted to
19    call his son, whom the individual stated was the H Street
20    property manager and had instructed the individual’s crew to
21    travel to and retrieve the equipment from inside the building,
22    so that the individual could tell his son/H Street property
23    manager what officers had advised.       The individual called his
24    son, and handed the telephone to officers to allow them to speak
25    with the son.    During the initial telephone conversation and a
26    second telephone conversation that occurred shortly thereafter,
27    the son told officers that he worked for Smith in maintaining
28    Smith’s properties free from vandalism and had sent workers that

                                          7
     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 8 of 12 Page ID #:8



1     day at Smith’s direction to the H Street facility to remove all
2     marijuana cultivation equipment of value from the building.
3     Officers’ Seizure Of The Defendant Currency
4          20.   On or about February 20, 2019, officers executed a
5     State of California search warrant at Smith’s Pacific Palisades
6     residence.   During the search, officers found in the garage
7     hundreds of Hydrocodone and Alprazolam (Xanax) pills, or far
8     above the quantity of medication a normal person would be
9     prescribed for an injury or illness.       In addition, officers
10    found the defendant currency in the backyard inside a green
11    ammunitions can or box situated under the master bedroom outside
12    a door step, a cloth bag situated inside a propane barbeque
13    grill that was closed and against the west side kitchen wall and
14    a paint can situated in a shelf by a wall next to a gate.
15         21.   The defendant currency constitutes traceable proceeds
16    of illegal narcotic transactions and/or was involved in illegal
17    money laundering transactions.      Smith has stated multiple times
18    that she leases her and her companies’ buildings to tenants that
19    conduct marijuana cultivation operations thereon.         In addition,
20    Smith has stated that she receives top-dollar rental income from
21    her cannabis grow tenants.      Smith would not have received these
22    funds but for her leasing of her properties to tenants
23    conducting marijuana grow operations.       In addition, Smith’s
24    representatives have admitted that the approximately $200,000.00
25    (i.e., the defendant currency) officers seized from Smith at her
26    Pacific Palisades home on February 20, 2019 constitutes rent
27    from Smith’s cash-only business marijuana cultivation tenants.
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                                          8
     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 9 of 12 Page ID #:9



1     (See https://therealdeal.com/la/2019/02/25/cannabis-landlord-
2     denied-license-while-in-jail-on-drug-charges/).
3          22.   In addition, the defendant currency itself bears
4     further indicators of drug trafficking, including that the funds
5     were stacked, rubber-banded and in denominations consistent with
6     drug trafficking (i.e., twenty, fifty and one hundred dollar
7     bills).
8                             FIRST CLAIM FOR RELIEF
9          23.   Plaintiff incorporates the allegations of paragraphs
10    1-22 above as though fully set forth herein.
11         24.   Based on the above, plaintiff alleges that the
12    defendant currency represents or is traceable to proceeds of
13    illegal narcotic trafficking, was intended to be used in one or
14    more exchanges for a controlled substance or listed chemical, or
15    was used or intended to be used to facilitate a controlled
16    substance or listed chemical violation, in violation of 21
17    U.S.C. § 841 et seq.     The defendant currency is therefore
18    subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6).
19                            SECOND CLAIM FOR RELIEF
20         25.   Plaintiff incorporates the allegations of paragraphs
21    1–22 above as though fully set forth herein.
22         26.   Based on the above, plaintiff alleges that the
23    defendant currency constitutes or is derived from proceeds
24    traceable to a controlled substance violation, a specified
25    unlawful activity as defined in 18 U.S.C. §§ 1956(c)(7)(A) and
26    1961(1)(D).    The defendant currency is therefore subject to
27    forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).
28    / / /

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     Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 10 of 12 Page ID #:10



1                              THIRD CLAIM FOR RELIEF
2           27.   Plaintiff incorporates the allegations of paragraphs
3      1-22 above as though fully set forth herein.
4           28.   Based on the above, plaintiff alleges that the
5      defendant currency constitutes property involved in multiple
6      transactions or attempted transactions in violation of 18 U.S.C.
7      § 1956(a)(1)(B)(i), or property traceable to such property, with
8      the specified unlawful activity being a controlled substance or
9      listed chemical violation.      The defendant currency is therefore
10     subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).
11                             FOURTH CLAIM FOR RELIEF
12          29.   Plaintiff incorporates the allegations of paragraphs
13     1-22 above as though fully set forth herein.
14          30.   Based on the above, plaintiff alleges that the
15     defendant currency constitutes property involved in multiple
16     transactions or attempted transactions in violation of 18 U.S.C.
17     § 1957(a), or property traceable to such property, with the
18     specified unlawful activity being a controlled substance or
19     listed chemical violation.      The defendant currency is therefore
20     subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).
21          WHEREFORE, plaintiff United States of America prays:
22          (a)   that due process issue to enforce the forfeiture of
23     the defendant currency;
24          (b)   that due notice be given to all interested parties to
25     appear and show cause why forfeiture should not be decreed;
26          (c)   that this Court decree forfeiture of the defendant
27     currency to the United States of America for disposition
28     according to law; and

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Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 11 of 12 Page ID #:11
Case 2:20-cv-01156-ODW-RAO Document 1 Filed 02/05/20 Page 12 of 12 Page ID #:12
